92 F.3d 1183
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Eric HELLAMS, Jr., Defendant-Appellant.
    No. 96-6726.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 23, 1996.Decided Aug. 6, 1996.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Albert V. Bryan, Jr., Senior District Judge.  (CR-95-226-A, CA-96-376-AM)
      Eric Hellams, Jr., Appellant Pro Se.  Helen F. Fahey, United States Attorney, Alexandria, Virginia, for Appellee.
      E.D.Va.
      APPEAL DISMISSED.
      Before WIDENER, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion filed under 28 U.S.C. § 2255 (1988), as amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1217.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss on the reasoning of the district court.   United States v. Hellams, No. CR-95-226-A;  CA-96-376-AM (E.D.Va. Mar. 25, 1996).  We note that the amendment to the sentencing guidelines which Appellant seeks to have applied (amendment 515) was effective only after his sentencing and has no retroactive effect.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    